                  IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

In Re:                                        ) Chapter 7 Case No. 19-11351
                                              )
         Jason D. Wallace                     ) Bankruptcy Judge Jessica Price Smith
                                              )
                      Debtor                  )

                        MOTION TO COMPROMISE CLAIM

         Now comes the Trustee, Sheldon Stein, and respectfully represents to the

court as follows:

         1. This case filed on March 13, 2019. The undersigned is the appointed

Trustee.

         2. According to testimony at the §341 meeting of creditors, written testimony

contained in the bankruptcy documents filed by the debtor, and the Trustee’s

subsequent investigation, the debtor asserts claims on Schedule AB against the

Nordonia Hills City School District Board of Education, the Solon City School

District Board of Education, and the Cleveland Heights-University Heights School

District Board of Education. The value of these claims were each listed on Schedule

AB as having a value of (“$0.00). These school districts deny the validity of the

asserted claims, and state they have defenses to these claims if the matters were

litigated.

         3. On June 21, 2019, the school districts listed above filed an Adversary

Proceeding against the debtor (Case No. 19-01052), contesting the dischargeability
of claims the school district have against the debtor.

      4. After discussions and negotiations with the debtor (now acting as his own

attorney), and counsel for the school districts, each school district – without admit-

ting the validity of any potential claims against them, but solely in order to avoid

further expense and delay resulting from litigation – offers to pay the Estate

$8,000.00 (a total of $24,000.00) in satisfaction of all claims the Estate and the

school districts may have against each other. The Trustee acknowledges receipt of

this money.

      5. Considering the time required to litigate this matter, potential legal fees,

costs and expense to the estate in bringing these matter to a conclusion, and taking

into consideration the facts of this case asserted in the adversary proceeding and

potential defenses available to the school districts to the claims asserted by the

debtor, the Trustee respectfully represents to the Court the proposed settlement

amount represents a sum greater than that which would ultimately be available for

unsecured creditors if these matters were fully litigated. Further, the settlement

eliminates the risk of an unfavorable outcome.

      6. Therefore, the Trustee respectfully moves the court for an order allowing

him to accept $8,000.00 from each of the school districts (a total of $24,000.00) as

set forth above.

     WHEREFORE, the Trustee respectfully moves the court for an order allowing

him to accept the settlement described above, and for authority to execute the




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settlement agreement attached, and for such other relief as the court deems just.


                                        /s/ Sheldon Stein
                                        Sheldon Stein, Trustee (0007292)
                                        S. Stein Company LLC
                                        50 Public Square, Ste. 2200
                                        P.O. Box 5606
                                        Cleveland, OH 44101
                                        (216) 696-7449
                                        (216) 696-5329 (fax)
                                        ssteindocs@gmail.com

                                 Certificate of Service

I certify that on December 12, 2019, a true and exact copy of this document was
served:

Via the Courts Electronic Case Filing System on these entities and individuals
who are listed on the Court’s Electronic Mail Notice List:

   Darrell A. Clay               dclay@walterhav.com

   United States Trustee         (Registered address)@usdoj.gov

   Jason Wallace                 jason@gethelpohio.com

On the following creditors that filed claim in this case

Quantum3 Group LLC
as agent for Crown Asset Management LLC
P.O. Box 788
Kirkland, WA 98083-0788

Discover Bank
Discover Products Inc
P.O. Box 3025
New Albany, OH 43054-3025

Bank of America, N.A.
P.O. Box 982284
El Paso, TX 79998-2238

BMW Financial Services NA, LLC
P.O. Box 3608
Dublin OH 43016
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American Express National Bank
c/o Becket and Lee LLP
P.O. Box 3001
Malvern PA 19355-0701

Citibank, N.A.
701 East 60th Street North
Sioux Falls, SD 57117

Portfolio Recovery Associates, LLC
P.O. 12914
Norfolk VA 23541

United States of America
Small Business Administration
c/o Richard Lukich, District Counsel
1350 Euclid Avenue
Cleveland, OH 44115

Office of the United States Attorney
801 West Superior Avenue, Ste. 400
Cleveland, OH 4113

The Huntington National Bank
3 Cascade Plaza CAS061
Akron, OH 44308

Affinity Whole Health
6180 Halle Dr. Ste B
Valley View, OH 44125

JPMorgan Chase Bank, N.A.
s/b/m/t Chase Bank USA, N.A.
JPMC
c/o National Bankruptcy Services, LLC
P.O. Box 9013
Addison, Texas 75001

Navient Solutions, LLC.
On behalf of Department of Education Loan Services
P.O. BOX 9635
Wilkes-Barre, PA 18773-9635




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Capital One Bank (USA), N.A.
by American InfoSource as agent
P.O. Box 71083
Charlotte, NC 28272-1083

                                  /s/ Sheldon Stein
                                  Sheldon Stein, Trustee




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                            SETTLEMENT AGREEMENT AND
                                    RELEASE OF CLAIMS


       This Settlement Agreement and Release of Claims ("Agreement") is entered into this
        day of                            , 2019, ("Effective Date"), by and between Sheldon
Stein, Chapter 7 Trustee for Debtor Jason D. Wallace, Case No. 19-11351 ("Trustee") and
Solon City School District (and its insurer. Liberty Mutual Insurance Company) ("Solon");
Nordonia Hills City School District Board of Education (and its insurer Hylant Administrative
Services LLC d/b/a HAS Claims Service) ("Nordonia"); and Cleveland Heights-University
Heights School District Board of Education ("CH-UH"). Solon, Nordonia, and CH-UH are
collectively referred to as "School Districts," and the Trustee and the School Districts are
collectively referred to as the "Parties"or individually, as a "Party."
                                         RECITALS


        WHEREAS, on or about March 13, 2019, Jason D. Wallace ("Wallace") filed a Chapter
7 voluntary petition for bankruptcy in the United States Bankruptcy Court, Northern District of
Ohio, whichwas assigned Case No. 19-11351 ("Petition");
        WHEREAS, Sheldon Stein was designated as the Trustee to administer Wallace's
bankruptcy estate;

        WHEREAS, Question 34 of Part 4 to Schedule A/B of Wallace's Petition included as
other contingent and unliquidated claims ofevery nature the following; "claims for retaliation
against multiple school districts including" but not limited to Nordonia, CH-UH, and Solon
("Potential Retaliation Claims");
        WHEREAS, Part 2 to Schedule E/F to Wallace's Petition listed as nonpriority unsecured
claims each of the following (collectively, "Potential IDEA Awards"):
    • 4.13: Creditor Cleveland Heights/University Heights School District Board of Education
         - "Claim for 28 USC 1920 Cost under the Individuals with Disabilities Education
         Improvement Act" inthe amount of$131,000.00;
    • 4.14: Creditor Cleveland Heights/University Heights School District Board of Education
         - "Claim for 28 USC 1920 Cost under the Individuals with Disabilities Education
         Improvement Act" inthe amount of$181,000.00;
    • 4.21: Creditor Hylant Administrative Services, LLC d/b/a HAS Claims Services —Claim
         for 28 USC 1920 Cost under the Individuals with Disabilities Education Improvement
         Act" in the amount of $145,000,00;

     • 4.25: Creditor Nordonia Hills City School District - "Claim for 28 USC 1920 Cost under
       the Individuals with Disabilities Education Improvement Act" in the amount of
         $145,000.00; and

     . 4.32: Solon City School District - "Claim for 28 USC 1920 Cost under the Individuals
         with Disabilities Education Improvement Act" in the amount of$135,000.00,
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